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AmerisourceBergen

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May 25, 2018
By U.S. Mail

Mr. John Martin

Assistant Administrator

Diversion Control Division

U.S, Drug Enforcement Administration
8701 Morrissette Drive

Springfield, VA 22152

Dear Assistant Administrator Martin:

lam writing to request a meeting to discuss how AmerisourceBergen Drug Corporation’s
ABDC”) Order Monitoring Program (“OMP”) can better serve the diversion control objectives
of the Drug Enforcement Administration (“DEA”) and combat the opioid crisis. ABDC is
committed to the safe and efficient delivery of medications to meet legitimate patient needs
across the United States. This commitment alone, however, cannot stop the spread of the opioid
crisis.

Acting Administrator Patterson testified before the Subcommittee on Oversight and _
Investigations of the House Committee on Energy and Commerce in March that the DEA needed
to work with industry in order to combat the opioid crisis. This message was echoed by Steven
Collis, Chief Executive Officer of AmerisourceBergen Corporation, who testified two weeks ago
that it is Imperative that the DEA work with all stakeholders in the supply chain in a cooperative
and collaborative manner and that DEA provide specificity, clarity, and guidance to industry.

Since at least the 1980s, ABDC and its predecessors have had systems in place to identify
and report suspicious orders of controlled substances to the appropriate governmental agencies in
compliance with federal and state law. ABDC’s OMP has continually evolved over the years
based on input from various stakeholders, especially DEA.

Compliance personne! from Bergen Brunswig Drug Company (“BBDC”) worked closely
with DEA in 1998 to develop a system of suspicious order reporting that would not only
discharge BBDC's obligations under the Controlled Substances Act, but serve as a better tool for
DEA to detect diversion. Over the course of many months, DEA field offices across the country
beta tested the enhanced BBDC program, ultimately resulting in its approval and implementation
in July of 1998. Following the merger in 2001 of BBDC and Amerisource, the BBDC system of
suspicious order reporting continued to be used by ABDC until 2007, when ABDC again
worked with DEA to further enhance its OMP. Following the implementation of the enhanced

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program, and ai DEA’s invitation, ABDC personne! presented at DEA industry conferences in
2007 and 2009 regarding the steps required to report suspicious orders.

It is as part of this legacy of cooperation and collaboration that J write to you today.
After a thoughtfal process that began in 2014, ABDC again refined its OMP algorithms in 2015
with the goal of more precisely identifying and reporting suspicious orders toe DEA. ABDC
presented this approach to DEA in 2015 and implemented this refined OMP nationwide in 2016,
As we have been more precise in our reporting, the volume of orders reported to DEA as
suspicious has declined. We learned recently that other industry registrants have taken a different
approach and their volume of orders reported as suspicious has significantly increased. We are
also mindful of the District of Cohimbia Circuit’s decision in Afasters Pharmaceuticals, Inc. v.
Drug Enforcement Administration, 861 F.3d 206 (D.C. Cir. 2017), which contemplates
alternative approaches to the reporting of suspicious orders.

With two complete years of data behind ABDC’s 2015 enhancements to the OMP, we
feel that now is an appropriate time to meet with the DEA to review the results of these
enhancements in more detail. For purposes of this initial meeting the agenda is simple —
determine the suspicious order reporting approach which best serves the diversion control
objectives of the DEA,

ABDC appreciates the DEA’s consideration of this meeting request. If you have any
questions or would like to discuss this request in further detail, please feel free to contact me at
DMay@amerisourcebergen.com or by calling 910-986-5061. Thank you for your time and
consideration of this request,

Sincerely,

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